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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES - GENERAL

   Case No.        SACV15-00202-JGB(JCGx)                          Date    February 24, 2020
   Title    Afrouz Nikmanesh v. Wal-Mart Stores, Inc. et al


   Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                MAYNOR GALVEZ                                     Phyllis A. Preston
                   Deputy Clerk                                    Court Reporter


           Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
                 Dayton B. Parcells, III                         Robert M. Goldich
   Proceedings:               STATUS CONFERENCE RE REMAND


         Counsel make their appearances. The Court and counsel confer. The Court orders
  counsel to submit a stipulation and proposed order with dates for the court to approve.

           IT IS SO ORDERED.




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                                                                            Time: 00:05
